                     Case 4:08-cr-00317-WTM-CLR Document 106 Filed 09/24/09 Page 1 of 7
AO 2458 (Rev 12/03) Judgment in a Criminal Cate
         Sheet I




                                     United States District Court
                                                  SOUTHERN DISTRICT OF GEORGIA
                                                       SAVANNAH DIVISION

         UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                     V.

                   Julius Devon Mills                                       Case Number               CR408-003 17-003
                                                                            USM Number                13820-021

                                                                            Imani Ajmaku
                                                                            Defendant's Attorney                              C,)
                                                                                                                              rn

                                                                                                                              N)
THE DEFENDANT:
[Xl      pleaded guilty to Counts I and 12
         pleaded nolo contendere to Count(s) - which was accepted by the court,
         was found guilty on Count(s) after a plea of not guilty.
                                                                                                                               Ui
The defendant has been convicted of the following offenses:


       Title & Section             Nature of Offense                                                Offense Ended                   Count

                                   Conspiracy to commit access device fraud, attempted                October 2007
        18 U.S.C. § 371
                                   access device fraud, and aggravated identity theft


      18 U.S.C. § IO28A            Aggravated identity theft                                       October 1 5, 2007                  2

        The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984,

         The defendant has been found not guilty on count(s).
[XI      Counts 10, 11, and 13 are dismissed on the motion of the United States.


         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If'ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.


                                                                                 September 23, 2009
                                                                                 Date of Imposition of Judgment



                                                                                 Signature of Judge

                                                                                 William T. Moore, Jr.
                                                                                 Chief Judge, U.S. District Court
                                                                                 Name and Title of Judge

                                                                                    J,,-z'
                                                                                 Date
                                                                                                            27
                     Case 4:08-cr-00317-WTM-CLR Document 106 Filed 09/24/09 Page 2 of 7
AO 245R (Rev 12/03) Judgment in a Criminal Case:                                                       Judgment-Page 2 of 7
         Sheet 2 - Imprisonment

DEFENDANT: Julius Devon Mills
CASE NUMBER: CR408-00317-003
                                                   IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
          for a total term of: 22 months as to Count 1, and 24 months as to Count 12, to be served consecutively, for
          a total term of 46 months,

[X]       The Court makes the following recommendations to the Bureau of Prisons: Designation to the Bureau of
          Prisons facility in Coleman, Florida, is recommended.


[X]       The defendant is remanded to the custody of the United States Marshal.
     1    The defendant shall surrender to the United States Marshal for this district:

          [ ] at       [ ] a.m. [ ] p.m. on ______
          [ } as notified by the United States Marshal,

     1    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

              ] before 2 p.m. on ______
              ] as notified by the United States Marshal.
              ] as notified by the Probation or Pretrial Services Office.
                                                        RETURN
          I have executed this judgment as follows:




          Defendant delivered on                             to
at                                                     with a certified copy of this judgment.




                                                                                          United States Marshal


                                                                                By
                                                                                      Deputy United States Marshal
                      Case 4:08-cr-00317-WTM-CLR Document 106 Filed 09/24/09 Page 3 of 7
                                                                                                                                           Judgment-Page 3 of 7
 AC)245B (Rev 12/03) Judgment in a Criminal Case
        Sheet 3 - Supervised Release


 DEFENDANT: Julius Devon Mills
 CASE NUMBER: CR408-00317-003
                                                            SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of: 3 years as to Count 1, and I year as to Count 12, lobe served
 concurrently

           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
 of the Bureau of Prisons.

 The defendant shall not commit another federal, state, or local crime.

 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance. The
 defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
 Court.

           The above drug testing condition is suspended, based on the courts determination that the defendant poses a low risk of future substance abuse.
            (Check, if applicable.)

 [X]       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check. if applicable.)

 [X]       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

           The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is 'a student, as
      1
           directed by the probation officer. (Check, if applicable.)

      I    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

          lfthis judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule of
 Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions oil
 attached page.

                                              STANDARD CONDITIONS OF SUPERVISION

I)         the defendant shall not leave the judicial district without the permission of the court or probation officer:

 2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first live days of each month:

 3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer:

 4)        the defendant shall support his or her dependents and meet other family responsibilities;

 5)        the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable
           reasons:

 6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment:

 7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
           or any paraphernalia related to any controlled substances, except as prescribed by a physician:

 8)         the defendant shall not frequent places where controlled substances are illegally sold, used. distributed, or administered:

 9)         the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony.
            unless granted permission to do so by the probation officer:

  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;

  II)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer:

  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
            of the court;

  13)       as directed by the probation officer, the defendant shall notify third parties of risks that maybe occasioned by the defendants criminal record
            or personal history or characteristics and shall permit the probation officer to make such notification and to confirm the defendants compliance
            with such notification requirement; and

  14)       Any possession, use, or attempted use of any device to impede or evade drug testing shall be a violation of' supervised release.
                     Case 4:08-cr-00317-WTM-CLR Document 106 Filed 09/24/09 Page 4 of 7
A() 2451 (Rev 12/03) Judgment in a Criminal Case:                                                    Judgment-Page 4 of 7
          Sheet 3C - Supervised Release


DEFENDANT: Julius Devon Mills
CASE NUMBER: CR408-00317-003

                                            SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall participate in a program of testing for drug and alcohol abuse and, if the Court
          determines it is necessary, the defendant shall participate in a program of treatment for drug and alcohol
          abuse.
2.        The defendant shall complete 150 hours of community service during the first 18 months of supervision.
          The defendant shall provide the probation officer with access to any requested financial information. The
          defendant shall not incur new credit charges or open additional lines of credit without the approval of the
          probation officer unless the defendant is in compliance with the installment payment schedule.

4.        The defendant shall earn his General Educational Development diploma if he does not do so while in the
          custody of the Bureau of Prisons.

                                                     ACKNOWLEDGMENT
Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision. (2) extend the term of supervision, and/or (3) modify the conditions of supervision.
These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


     (Signed)
                     Defendant                                         Date



                     U. S. Probation Officer/Designated Witness        Date
                     Case 4:08-cr-00317-WTM-CLR Document 106 Filed 09/24/09 Page 5 of 7
A0 245R (Rev 12/03) Judgment in a Criminal Case:                                                                            Judgment-Page 5 oF 7
        Sheet 5 - Criminal Monetar y Penalties

DEFENDANT: Julius Devon Mills
CASE NUMBER: CR408-003 17-003
                             CRIMINAL MONETARY PENALTIES
          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 7.
                                                             Assessment                    Fine                    Restitution

 Totals:                                                             $200                                          $36,135.04


   1 The determination of restitution is deferred until          An Amended Judgment in a Criminal Case (AO 245C) will be entered after
          such a determination.

[X] The defendant must make restitution (including community restitution) to the following payees in the amounts listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
         otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
         victims must be paid before the United States is paid.


                       Name of Payee                             Total Loss*         Restitution Ordered Priority or Percentage

SunTrust Bank                                                                                $730.37                         2.
Attn: Records Custodian
7474 Chancellor Drive
Orlando, Florida 32809
Ref Sandra Frazier, Account Number
0031002068729

Regions Bank                                                                                $3,000.00                        8,3%
E Banking Debit Card Risk
P.O. Box 413
Birmingham, AL 35201
Attention Reference: Kimberly and Mark Bedwell,
Account Number 4236 8100 0300 6824

Bank of America                                                                             $2,296.50                        6.1%
P.O. Box 15730
Wilmington, DE 19850
Reference: Account Number 4427 1000 1363 2778


                                                   **See additional restitution payees - page 6

           Restitution amount ordered pursuant to plea agreement               $

           The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
           the fifteenth day after the date ofjudgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
           to penalties for delinquency and default pursuant to 18 U.S.C. § 3612(g).
[XJ        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

           [XI       The interest requirement is waived for the       [ I tine       [X] restitution.
              I      The interest requirement for the    [ II fine      I]   restitution is modified as follows:


* Findings )br the total amount of losses are required under Chapters 109A, 110, 1 IOA and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996,
                    Case 4:08-cr-00317-WTM-CLR Document 106 Filed 09/24/09 Page 6 of 7
AO 2458 (Rev 12/03) Judgment in a Criminal Case:                                                                 Judgment-Page 6 of 7
         Sheet 5B - Criminal Monetary Penalties


DEFENDANT: Julius Devon Mills
CASE NUMBER: CR408-00317-003
                            ADDITIONAL RESTITUTION PAYEES

                                                                                                                   Priority or
 Name of Payee                                                   Total Loss*         Restitution Ordered           Percentage
 H.S.B.C. Bank of California Mastercard                                                    $6,622.33                  18.3%
 P.O. Box 80055
 Salinas, CA 93912
 Reference: Account Nwnber 5491 0986 1494 351!

 G.F. Money, Attn: OH3-1030 Restitution                                                    $6,000.00                  16.6%
 P.O. Box 8726
 Dayton, OH 45401
 Reference: Mae Lemons, Zip Code 32132,
 Lowe's Visa account

 Bank of America, DF5-01 1-03-01                                                           $6,342.60                  17.6%
 P.O. Box 15730
 Wilmington, DE 19850
 Reference: Account Number 4313 0700 7383 6261

 J.P. Morgan Chase                                                                          $101.78                     3%
 Attn: Restitution Payments
 P.O. Box 2003
 Elgin, Illinois 60121-2003
 Reference: Account Number 4104 1400 1 105 3981

 Discover Card                                                                              $248.35                    .7%
 P.O. Box 15048
 Wilmington, Delaware 19850-5048
 Tax I.D. # 364020792
 Reference: Account Number 6011 0045 0295 3231,
 Joyce Crowder

 Wachovia Corporation, CFIS                                                                  $83.09                     5%
 P.O. Box 2818
 Huntersville, North Carolina
 Reference: Case Number 13459009

 Citigroup Fraud Investigations                                                            $8,710.02                  24.1%
 14700 Citicorp Drive, Building 2 - First Floor
 Hagerstown, Maryland 21742
 Reference: Account Number 5121 0796 6330 9711,
 Illena May

 Wal-Mart Market Office                                                                    $2,000.00                  5.5%
 6000 Ogeechee Road
 Savannah, Georgia 31419

                                                    Totals:                               $36,135.04                  100%



        * Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and I I3A of "Title 18 for offenses
committed on or after September 13, 1994 but before April 23, 1996.
                    Case 4:08-cr-00317-WTM-CLR Document 106 Filed 09/24/09 Page 7 of 7
AD 245R (Rev 12/03) Judgment in a Criminal Case:                                                                               Judgment-Page 7 of 7
        Sheet 6 - Criminal Monetary Penalties

DEFENDANT: Julius Devon Mills
CASE NUMBER: CR408-003 17-003
                                                    SCHEDULE OF PAYMENTS

1-lay ing assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A [X] Lump sum payment of $ 200 due immediately, balance due


             1 not later than _;or
           [X] in accordance with [ ]C, [ ]i.), [ ] E, or [X] F below; or

          Payment to begin immediately (may be combined with [ I C, [ ]I), or [                   F below); or


C     I   Payment in equal - (e.g., weekly, monthly, quarterly) installments of over a period of_ (e.g., months or years), to commence
          - (e.g., 30 or 60 days) after the date of this judgment; or

D[ 1      Payment in equal - (e.g., weekly, monthly, quarterly) installments olS over a period of_ (e.g., months or years), to commence
          _(e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or


E[]       Payment during the term of supervised release will commence within       (eg., 30 or 60 days) after release from imprisonment.
          the court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F IX1     Special instructions regarding the payment of criminal monetary penalties: Pursuant to 18 U.S.C. § 3664(t)(3)(B), nominal
          payments of either quarterly installments of minimum ot'$25 if working non-UNICOR or a minimum of 50 percent of monthly
          earnings ifworking UNICOR shall be made. Upon release front and while on supervised release, nominal payments
          of a minimum of$ 200 per month shall be made. Payments are to be made payable to the Clerk, United States District Court,
          for disbursement to the victims.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit tbr all payments previously made toward any criminal monetary penalties imposed.

[X]       Joint and Several
              Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
             Amount, and corresponding payee, if appropriate:

              Codefendants:                                             Total Amount                 Joint and Several Amount
              Lomicia Mesche Whitaker (CR408-00317-001)                 $39378.84                    $36,135.04
              Revonda Renee Scott (CR408-00317-002)                     $17,485.84                   $17,485.84

          The defendant shall pay the cost of prosecution.

          The defendant shall pay the following court cost(s):



          The defendant shall forfeit the defendant's interest in the following property to the United Stales:



Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest; (4) fine principal; (5) fine
interest; (6) community restitution; (7) penalties, and (8) costs, including cost of prosecution and court costs.
